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10                     IN THE UNITED STATES DISTRICT COURT

11                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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13   UNITED STATES OF AMERICA,     )
                                   )      CR NO. S-03-042 FCD DAD
14                  Plaintiff,     )
                                   )
15             v.                  )      STIPULATION AND ORDER
                                   )
16   SHANGO JAJA GREER, et al.,    )
                                   )
17                  Defendant.     )
     ______________________________)
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19           It is hereby stipulated by and between the parties that the

20   hearing on the motions for a Bill of Particulars filed by

21   defendants Greer and Gonzalez, currently set for July 25, 2005, be

22   reset for August 19, 2005, at 11:30 a.m.

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 1        The reason for the above-referenced rescheduling is that a

 2   separate hearing has already been set in front of the District

 3   Court at 2 p.m. on August 19 concerning other motions.

 4

 5   DATED: July 21, 2005                /s/ Philip Ferrari for
                                        PETE KMETO, ESQ.
 6                                      Attny. for Shango Greer

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     DATED: July 21, 2005                /s/ Philip Ferrari for
 8                                      JOHN PHILLIPSBORN, ESQ.
                                        Attny. for Oscar Gonzales
 9
     DATED: July 21, 2005               McGREGOR W. SCOTT
10                                      United States Attorney

11
                                  By:   /s/ Philip Ferrari
12                                      PHILIP A. FERRARI
                                        Assistant U.S. Attorney
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14   IT IS SO ORDERED.

15   DATED: July 22, 2005.

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20 Ddad1/orders/criminal/greer0042.stip&ord

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